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                           DECLARATION OF SANDRA DOE

      I, Sandra Doe, declare the following under penalties of perjury:

   1. I am over 18 years of age and competent to give this declaration.

   2. I have been an employee of the United States Agency for International Development

      (USAID) since 2023. I am a personal services contractor (PSC), which is an employee

      status authorized by and subject to the Federal Acquisition Regulation (FAR).

   3. I am currently a USAID Agreement Officer Representative (AOR) and Alternate AOR on

      $44 million in active humanitarian assistance awards that are exempt from the foreign

      assistance funding freeze by humanitarian waivers for life-saving food assistance activities.

Nature of USAID Agreement Officers and Agreement Officer Representatives

   4. USAID Agreement Officers (AOs) and Agreement Officer Representatives (AORs) are

      essential components to the execution of USAID foreign assistance programs. AOs and

      AORs have distinct roles that are essential to ensuring funds are appropriately

      administered, programs are effectively implemented, and U.S. government resources are

      safeguarded against waste, fraud, and abuse.

   5. AOs and Contracting Officers (COs, who are in an equivalent role vis a vis USAID

      contracts with implementing partners) are the only individuals with legal authority to

      obligate U.S. Government funds and modify awards. Their role is primarily contractual

      and administrative. AOs do not oversee the day-to-day technical and programmatic

      execution of awards; instead, they legally delegate technical and administrative oversight

      to AORs.

   6. AORs must undergo Federal Acquisition Certification for Contracting Officer’s

      Representatives (FAC-COR) training and agency-specific courses relating to financial and
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      data management systems (Phoenix, GLAAS, ASIST). Additionally, AORs must stay in

      compliance of yearly continuous learning point requirements to keep their certification.

AOR Responsibilities

   7. After technical review of an application has concluded and is recommended to the AO by

      a proposed AOR, a letter is circulated which legally delegates AOR duties. This letter is

      signed by the AO, proposed AOR, and an alternate AOR (Exhibit 1). The AOR letter

      outlines the scope of my authority, duties, responsibilities, and potential liabilities as AOR.

   8. AOR duties include but are not limited to: thoroughly reading and becoming expertly

      acquainted on the full award document including purpose, technical narrative, terms and

      conditions, and roles of the parties of the award; monitoring recipients’ progress to verify

      that activities being funded are within the scope of the award terms and conditions;

      recommend and justify award modifications to the AO; ensure award actions comply with

      the USAID policies such as the ADS and CFR; review and approve or deny vouchers and

      requests for payment; monitoring the financial status of awards on a regular basis; monitor

      compliance with branding and marking plans and fraud, waste, and abuse reporting

      policies; rigorous file management of recipient correspondence, reporting, and

      notifications.

AOR Portfolio Management

   9. I am an AOR and Alt. AOR on $44 million in active humanitarian assistance awards that

      are exempt by humanitarian waivers for life-saving food assistance activities. I have been

      an AOR and Alt. AOR on more than $54 million of assistance awards during my time at

      USAID.

   10. While I currently manage $44 million in active assistance awards that should be operational




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      under alleged humanitarian waivers, it is very common in my office for USAID AORs to

      routinely oversee awards upwards of $250 million USD each.

What Will Happen After the Mass Termination of PSCs

   11. On February 19, 2025 I was notified that my PSC contract was being terminated for

      convenience by the U.S. Government because “a review of Agency PSCs was conducted

      by senior leadership and it was determined that your services are no longer needed by the

      Agency.” The email contains an attachment with a notice letter with termination details.

      At no point in the email or notice letter attachment is my name or contract number included.

      I received the email as a bcc from my Contracting Officer (CO) and the notice letter is

      signed by a different CO.

   12. The mass termination of AORs will mean halting emergency foreign assistance. AORs will

      not be present to approve vouchers, process award modifications, or review payment

      submissions. In turn, USAID’s payment process will cease and humanitarian activities will

      shutter. Within my portfolio this means that starving children will not receive ready-to-use

      therapeutic foods, pregnant and breastfeeding women will not be screened for malnutrition,

      and refugee households will not be provided vouchers to purchase food for their families.

      Without AORs, USAID’s provision of foreign assistance will collapse and beneficiaries of

      humanitarian assistance activities will suffer. Terminating AORs means that vulnerable

      populations will die.

   13. While PSCs are not the only staffing mechanism who hold AOR certification, it is typically

      delegated to PSC staff and those who do not hold managerial positions. If the mass

      termination of AORs is allowed to proceed, these responsibilities will fall to team leads,

      division chiefs, or AOs. These positions do not have the bandwidth to take on daily AOR




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      responsibilities and are



      typically not managing programs at a technical level to effectively execute AOR duties.

   14. Additionally, if the mass termination of PSCs is allowed to proceed, award oversight will

      significantly decline. AOs will not be able to take on the daily duties and award compliance

      will deteriorate. This will weaken reporting systems for fraud, waste, and abuse. My

      portfolio includes countries in fragile states where oversight is already limited and

      opportunities for third-party monitoring are scarce. My role as an AOR is especially crucial

      to ensure that foreign assistance is aligned with the scope of the award documents agreed

      upon by the AO.

Concerns About My Legal Liability as an AOR for the Consequences of the Government’s

Dismantling of USAID

   15. On Sunday February 2, 2025 I lost all access to USAID systems with no communication

      from my CO or office leadership. I was not given any explanation for this directive. I was

      unable to access USAID systems from February 2 until February 9 with no

      communications or information regarding my employment status during that time. Once I

      regained access on February 9, I had no email history from the time I was denied access.

      This means that I had no way to access any reporting or notifications for the awards that I

      am held legally liable for as an AOR. This is notable because during this time, our team

      relied heavily on unprompted partner communications for any context updates as we had

      been instructed by our office leadership to observe conservative communications guidance

      so that we were adhering to executive orders freezing foreign assistance.

   16. I am concerned because my employer put me in a position where I may be held legally




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       liable for award developments that happened the week I was denied access. Additionally,

       USAID kept me from executing the duties laid out in my contract without explanation or

       communication.

I declare under penalty of perjury that the foregoing is true and correct.

Executed on February 26, 2025.

                                                               /s/ Sandra Doe




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